 Case 19-22967       Doc 301     Filed 11/23/20 Entered 11/23/20 11:18:17       Desc Main
                                  Document     Page 1 of 2



                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

IN RE:                              )      No. 19-22967
                                    )
NATALJA VILDZIUNIENE,               )      Hon. Timothy A. Barnes
          Debtor.                   )      Chapter 11
                                           Hearing Date: 11/23/2020
                                                         at 1:30 p.m.

             NOTICE OF WITHDRAWAL OF MOTION TO WITHDRAW AS
               COUNSEL FOR DEBTOR AND DEBTOR IN POSSESSION

         Bruce de’Medici hereby withdraws his Motion to Withdraw as Counsel for Debtor and

Debtor in Possession (Dkt. #293).




                                           Respectfully Submitted
                                           Bruce de’Medici

                                           By: /s/ Bruce de’Medici




Bruce de’Medici
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 Case 19-22967       Doc 301     Filed 11/23/20 Entered 11/23/20 11:18:17             Desc Main
                                  Document     Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I, Bruce de’Medici, an attorney who is licensed to practice law in the State of Illinois,
certify that on the 23rd day of November, 2020, I served a copy of the foregoing NOTICE OF
WITHDRAWAL OF MOTION TO WITHDRAW AS COUNSEL FOR DEBTOR AND
DEBTOR IN POSSESSION upon Registrants through this Court’s Electronic Notice for
Registrants and upon Natalja Vildziuniene through First Class mail electronic mail to her, all as
listed below.


       /s/ Bruce de'Medici

Registrants served through the Court’s Electronic Notice to Registrants
 Office of the United States   James J. Ayres, Sr                  Peter C. Bastianen
 Trustee                       Ayres Law Offices, Ltd.             Codilis and Associates
 USTPRegion11.es.ecf@usdoj.gov James@AyresLawLtd.com               ND-Four@il.cslegal.com

 Jeffrey D. Corso                  David DeCelles                  Carrie A. Dolan
 Cooney & Corso, LLC               U.S. Attorney's Office          Cohon, Raizes & Regal LLP
 jcorso@ccvmlaw.com                david.decelles@usdoj.gov        cdolan@cohonraizes.com

 Jonathan D. Golding               Richard N. Golding              Dana N. O'Brien
 The Golding Law Offices, P.C.     The Golding Law Offices, P.C.   McCalla Raymer Pierce, LLC
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Notice through electronic mail

Natalja Vildziuniene
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Park Ridge, Illinois 60068
Electronic mail: natashavildz@gmail.com
